        Case 3:04-cr-00138-JCH      Document 2704        Filed 02/24/12    Page 1 of 2




                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA,                  :       CRIMINAL ACTION NO.
                                           :       3:04-CR 00138 (JCH)
                                           :
               v.                          :
                                           :
KEEROME SUGGS                              :       FEBRUARY 24, 2012
                                           :
                                           :


      RULING RE: DEFENDANT’S MOTION FOR RETROACTIVE APPLICATION OF
      SENTENCING GUIDELINES TO CRACK COCAINE OFFENSE, 18 U.S.C. § 3582
                              (DOC. NO. 2680)


I.       INTRODUCTION

         On January 12, 2012, defendant, Keerome Suggs, filed a pro se Motion for

Reduction of Sentence, seeking a reduction in the sentence originally imposed on

October 20, 2005. See Doc. Nos. 1612, 2680. For the reasons set forth below, the

Motion is denied.

II.      DISCUSSION

         On June 9, 2005, Suggs pled guilty to conspiring to possess with the intent to

distribute 50 grams or more of cocaine base, in violation of 21 U.S.C. § 846 and

841(a)(1), (b)(1)(A)(iii). See Doc. No. 1294. On October 20, 2005, this court sentenced

Suggs to 132 months imprisonment and seven years supervised release. See Doc. No.

1639. At the time of sentencing, the court found that Suggs was a career offender

pursuant to U.S.S.G. § 4B1.1(b)(A). See Tr. at 5. After accounting for the acceptance

of responsibility, the court found a total offense level of 34, criminal history category VI,

and a sentencing range of 262 to 327 months. See id. at 6. The sentence imposed,



                                               1
       Case 3:04-cr-00138-JCH            Document 2704          Filed 02/24/12       Page 2 of 2




however, was a downward departure pursuant to United States v. Mishoe, 241 F.3d 214

(2d Cir. 2001) and U.S.S.G. § 5K2.0.

        In accordance with § 1B1.10(a)(2)(B), a reduction in the term of imprisonment is

not authorized under 18 U.S.C. § 3582(c)(2) where the amendment does not have the

effect of lowering the defendant’s applicable guideline range. Application Note 1(A)

defines the “applicable guideline range” to mean “the guideline range that corresponds

to the offense level and criminal history category determined pursuant to § 1B1.1(a),

which is determined before consideration of any departure provision in the Guidelines

Manual or any variance.” Here, Suggs’s applicable guideline range was calculated

pursuant to § 4B1.1, and Amendment 750 does not affect that calculation. 1

Consequently, Suggs’s Motion is denied.

SO ORDERED.


        Dated at Bridgeport, Connecticut this 24th day of February, 2012.


                                                  /s/ Janet C. Hall
                                                 Janet C. Hall
                                                 United States District Judge




        1
          Although application of the Fair Sentencing Act would affect this calculation, clear precedent
dictates that the Fair Sentencing Act does not apply to those who committed their offense before the Fair
Sentencing Act took effect. See United States v. Acoff, 634 F.3d 200, 202 (2d Cir. 2011).

                                                    2
